           Case 1-18-45085-cec         Doc 38      Filed 06/06/19      Entered 06/06/19 12:32:31



DAVID A. GALLO & ASSOCIATES LLP
www.dagallp.com                                                                                 DAVID A. GALLO
99 Powerhouse Road – First Floor                                                      KATHLEEN CLIFFORD GALLO
Roslyn Heights, NY 11577                                                                       *ROBERT M. LINK
                                                                                                *
                                                                                                    MEMBER OF N.Y. & N.J.
New Jersey Office:
191 Godwin Avenue                                                                          DANIEL D. ANGIOLILLO
Wyckoff, NJ 07481                                                               Justice of the Appellate Division
                                                                                     Second Department, Retired
Please reply to New York address                                                                           Of Counsel
                                                                                        NY Phone: (516) 583-5330
                                                                                          NY FAX: (516) 583-5333
                                                                                        NJ Phone: (201) 778-4400
     June 6, 2019

     Judge Carla E. Craig
     United States Bankruptcy Court, Eastern District of New York
     Conrad B. Duberstein Courthouse
     271-C Cadman Plaza East - Suite 1595
     Brooklyn, NY 11201

     RE:     In re Helen H Gluck, Case No. 18-45085-cec

     Dear Judge Craig:

         Please be reminded that the Debtor’s loan was service transferred from Seterus, Inc. to Mr. Cooper on March
     1, 2019. The loan modification review resulted in a denial and a copy of the denial letter was sent to Debtor’s
     Counsel, Shalom D. Samuels, on May 8, 2019. A request was made from Debtor’s Counsel for a
     breakdown of the figures used to calculate the denial. The below response to said request was sent on
     May 14, 2019:

        The review is for a FNMA flex modification which is not based on income or
     expenses as per FNMA guidelines. Please see below for the figures used to
     calculate the denial:

     Current upb 389525.48
     Current interest rate 5.875%
     Current p&I payment 2525.87
     Post mod upb 690,535.85
     Post mod interest rate 5.875%
     Post mod terms 480 months
     Post mod p&I 3739.43

     The property is valued at 1,111,600.00. Since there is equity in the property the
     review does not require us to offer a forbearance or a reduction in
     interest rate.


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Based on the above, our office respectfully requests that loss mitigation be terminated.

Thank you for your time and attention to this matter.


                                                        Respectfully submitted,
                                                        /s/Robyn E. Goldstein, Esq.
                                                        Robyn Goldstein




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